             Case 1:19-cv-01577 Document 1 Filed 05/29/19 Page 1 of 5



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



BRYAN CAVE LEIGHTON PAISNER LLP,                    )
1155 F Street, NW, Suite 500                        )
Washington, DC 20004                                )
                                                    )
       Petitioner,                                  )
                                                    )
               v.                                   )            Case No. 1:19-cv-1577
                                                    )
THE GABONESE REPUBLIC,                              )
                                                    )
       Respondent.                                  )




                     PETITION TO CONFIRM ARBITRATION AWARD



                                       NATURE OF THE CASE

       1.      Petitioner Bryan Cave Leighton Paisner LLP (“Petitioner” or “BCLP”) seeks entry

of a judgment order confirming an arbitration award pursuant to Section 9 of the Federal

Arbitration Act, 9 U.S.C. § 1 et seq. On April 3, 2019, the Attorney Client Arbitration Board of

the District of Columbia Bar (the “ACAB”) issued an arbitration award (the “Decision & Award”)

in which it awarded Petitioner $1,250,017.94 against Respondent The Gabonese Republic

(“TGR”). A copy of the Decision & Award is attached as Exhibit 1 and is incorporated by

reference in this Petition. As demonstrated herein, there is no just reason for denying

confirmation, recognition and enforcement of the Decision & Award.

                                                PARTIES

       2.      Petitioner BCLP is a partnership organized and existing under the laws of the State

of Missouri with an office at 1155 F Street, NW, Suite 500, Washington, DC 20004. BCLP is a

global law firm. Prior to April 1, 2018, BCLP was known as Bryan Cave LLP.
              Case 1:19-cv-01577 Document 1 Filed 05/29/19 Page 2 of 5



        3.      Respondent TGR is a foreign state.



                                      JURISDICTION AND VENUE

        4.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1330 and pursuant to Section 9 of the Federal Arbitration Act, 9 U.S.C. § 9, because it is an

action against a foreign state to confirm an arbitral award. The Rules of the ACAB, to which

Respondent contractually agreed to adhere, provide, in Rule 23 thereof, for enforcement of its

awards in “any …court having jurisdiction.”

        5.      This Court will have personal jurisdiction over TGR pursuant to 28 U.S.C.

§ 1330(b) once BCLP completes service on TGR pursuant to the methods permitted in 28 U.S.C.

§ 1608(a) for service of process upon a foreign state.

        6.      Venue is proper in this District under 28 U.S.C. § 1391 (f) (1) because a substantial

part of the events giving rise to the claim occurred in this District and under § 1391(f) (4) because

TGR is a foreign state.

                            THE ENGAGEMENT AND FEE AGREEMENT

        7.      TGR entered into a contract (the “Engagement Letter”) with BCLP on January 29,

2016, in which it engaged the law firm to perform services and agreed to pay a fixed fee of

$1,380,000, plus expenses. A copy of the Engagement Letter is attached hereto as Exhibit 2. (The

signed Engagement Letter was written in French, the official language of TGR; an English

translation thereof is part of the Exhibit.)

        8.       The Engagement Letter included an agreement that “any dispute … concerning

fees and other charges” would be “settled by arbitration” to be heard by the ACAB. Exhibit 2 at

p. 4.

        9.       The Engagement Letter also stated that TGR “expressly hereby waives any

                                               2
              Case 1:19-cv-01577 Document 1 Filed 05/29/19 Page 3 of 5



sovereign immunity, before any arbitration courts or tribunals, … for itself and all its assets,

which might frustrate the conduct of any arbitral proceedings or the execution of an award

rendered by an arbitration tribunal constituted in accordance with this [Engagement Letter].” Ex.

2 at p. 5.

        10.    As of March 13, 2018, the sum of $1,261,153.49 in fees and expenses was unpaid

and owed by TGR to BCLP for services rendered under the Engagement Letter. Despite demand

for payment, this sum remained unpaid.

                                          THE ARBITRATION

        11.    On July 31, 2018, BCLP submitted a Request for Arbitration to the ACAB and

requested an award in the amount of the unpaid fees and expenses then owed.

        12.    Thereafter, the ACAB accepted the Request for Arbitration and, on January 30,

2019, notified the parties that it had appointed a panel of three arbitrators to hear and decide the

dispute. The Request was docketed by ACAB as its case #2018-19/003. The panel selected the

date of April 3, 2019 for a hearing on the claim.

        13     Under the Rules of the ACAB, each party, BCLP and TGR, was afforded the right

to submit documents, written argument, and witness lists prior to a hearing, as well as to present

the documents and witnesses at the hearing. In the case of TGR, an extension of time for those

submissions was granted by the panel at the request of TGR’s counsel, and its submission of

argument was filed before the hearing.

        14.    The panel of three arbitrators appointed by the ACAB conducted a hearing on

April 3, 2019, at which time BCLP presented its case through documents and witnesses. TGR

appeared at the hearing through two lawyers who requested permission to participate from France

and from Gabon by telephone and who cross-examined the BCLP witnesses and argued TGR’s

defenses.

                                              3
             Case 1:19-cv-01577 Document 1 Filed 05/29/19 Page 4 of 5




                                     THE DECISION AND AWARD

       15.     The panel of the ACAB made its decision on April 3, 2018, in a written statement

provided to the parties on April 16, 2019. The statement, entitled Decision & Award, determined

that the proper amount of the fees and expenses due to Petitioner is $1,250,017.94, which was less

than the amount originally claimed by BCLP. Exhibit 1.

       16.     The Decision and Award stated that compliance was to be “completed by May 3,

2019.” TGR ignored the terms and has not paid any amount of the fees and expenses owed to

BCLP under the Decision and Award.

                                            CLAIM FOR RELIEF

       17.     The Decision and Award is enforceable under the Federal Arbitration Act, 9

U.S.C. §§ 1-16, and Petitioner BCLP is entitled to a judgment of this court in the amount

designated therein.

       18.      Because the amount owed to BCLP is a liquidated sum and debt following the

April 3, 2019, Decision and Award, TGR is liable for interest on the principal sum of

$1,250,017.94 from that date until paid, pursuant to D.C. Code § 15-109. The rate of interest,

under D.C. Code § 28-3302(a), is 6%.

       19.      This Petition is filed within one year of the date of the Decision and Award and

is, therefore, timely under 9 U.S.C. § 9.



                                            PRAYER FOR RELIEF

       WHEREFORE, Petitioner Bryan Cave Leighton Paisner LLP respectfully requests that

this Court enter an order of judgment against The Gabonese Republic confirming the Decision

and Award of the ACAB made on April 3, 2019, and for the amount specified therein,

                                              4
             Case 1:19-cv-01577 Document 1 Filed 05/29/19 Page 5 of 5



$1,250,017.94, plus interest at the rate of 6% from and after April 3, 2019, until paid, together

with the costs of this action, and awarding such other and further relief as this Court may deem

just and proper.


Dated: May 29, 2019                   Respectfully submitted,

                                              By: /s/ Rodney F. Page
                                              Rodney F. Page (D.C. Bar No. 37994)
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                                             5
